    Case 1:04-cv-00798-PLF-GMH Document 1182-1 Filed 07/03/19 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,              )
                                       )
                   Plaintiff,          )
                                       )
             v.                        )               Case No. 1:04-cv-00798-PLF-GMH
                                       )
ALL ASSETS HELD AT BANK JULIUS )
Baer & Company, Ltd., Guernsey         )
Branch, account number 121128, in the )
name of Pavlo Lazarenko, et al.        )
                                       )
                    Defendants In Rem. )

                     PROPOSED ORDER ON MOTION FOR SANCTIONS

       For the reasons set forth in the United States’ Motion to Compel and for Sanctions for

Alexander Lazarenko’s Failure to Appear at His Deposition, it is hereby;

       ORDERED that Alexander Lazarenko’s claim in this matter is DISMISSED; and

       Further ORDERED that claimants Pavel Lazarenko, Ekaterina Lazarenko, and Lecia

Lazarenko are precluded from introducing any evidence in motions or at trial referencing

Alexander Lazarenko, his ownership interest in any companies or entities, or any actions taken

by Alexander Lazarenko.

       In the alternative, if Alexander Lazarenko’s claim is not dismissed, it is hereby:

       ORDERED that Alexander Lazarenko sit for a deposition in Kiev, Ukraine at the

Ukrainian Prosecutor General’s Office within 30 days of this Order; and

       ORDERED that Alexander Lazarenko pay all costs of the United States associated with

taking the deposition, including airfare, lodging, food, court reporter fees, translation costs, and

videographer fees.
   Case 1:04-cv-00798-PLF-GMH Document 1182-1 Filed 07/03/19 Page 2 of 2




SO ORDERED.



                                  ______________________________________
                                  THE HONORABLE G. MICHAEL HARVEY
DATE: ________, 2019              United States Magistrate Judge
